          Exhibit 46




Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 1 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 2 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 3 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 4 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 5 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 6 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 7 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 8 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 9 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 10 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 11 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 12 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 13 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 14 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 15 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 16 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 17 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 18 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 19 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 20 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 21 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 22 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 23 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 24 of 25
Case 1:14-cv-00954-LCB-JLW Document 166-3 Filed 01/18/19 Page 25 of 25
